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 7
 8                                 UNITED STATES BANKRUPTCY COURT

 9                  CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION

10   In re                                          Case No. 2:17-bk-23812-BR
11   BENJAMIN W. GONZALES,                          Chapter 7
12                       Debtor.                    TRUSTEE’S OMNIBUS REPLY TO
                                                    RESPONSES TO MOTION FOR ORDER:
13                                                   1. APPROVING SUBORDINATION
                                                        AGREEMENT BETWEEN THE
14                                                      TRUSTEE AND BANK OF AMERICA;
                                                     2. APPROVING COMPROMISE
15                                                      BETWEEN TRUSTEE AND
                                                        COMERICA BANK; AND
16                                                   3. AUTHORIZING SALE OF REAL
                                                        PROPERTY (A) OUTSIDE THE
17                                                      ORDINARY COURSE OF BUSINESS;
                                                        (B) FREE AND CLEAR OF LIENS,
18                                                      CLAIMS, AND ENCUMBRANCES;
                                                        (C) SUBJECT TO OVERBID; AND
19                                                      (D) FOR DETERMINATION OF GOOD
                                                        FAITH PURCHASER UNDER 11 U.S.C.
20                                                      §363(M)
21                                                  Hearing
                                                    Date: August 10, 2021
22                                                  Time: 2:00 p.m.
                                                    Place: Courtroom 1668 (Hon. Barry Russell)
23                                                         255 East Temple Street
                                                           Los Angeles, California 90012
24
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28


       REPLY IN SUPPORT OF MOTION FOR ORDER APPROVING: SUBORDINATION; COMPROMISE; AND SALE
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 1   1.       Introduction
 2            The Fox Firm1 opposes the Motion only as to the Trustee’s request for approval of the Comerica

 3   Compromise Agreement. Comerica conditionally opposes the Motion, arguing that if the Comerica

 4   Compromise Agreement is not approved, then Comerica does not consent to the proposed sale of the

 5   Property. The Motion should be approved in its entirety. The Property has been vacant and falling into

 6   disrepair since late 2018. Through the Trustee’s diligence, the repairs necessary to increase the value of

 7   the Property from less than $1.2 million to in excess of $1.5 million have been made exclusively from

 8   funds paid by BofA’s insurance carrier. The real estate market is strong, and the $1.522 million offer

 9   received from Buyers is likely the best and highest offer that will be received by the Estate. If the sale is

10   not approved, the Estate stands to lose hundreds of thousands of dollars in unencumbered funds that will

11   be paid under the BofA Subordination Agreement.

12            With respect to the Fox Firm’s opposition, the Comerica Compromise Agreement should be

13   approved because it is fair, reasonable, and in the best interest of creditors of the Estate. Comerica

14   asserts a substantial contribution claim of approximately $150,000 against the Estate. Failure to approve

15   the compromise may lead to tens of thousands of dollars of litigation against Comerica – a party that has

16   displayed a willingness to litigate – with no guarantee of success by the Estate.

17            With respect to Comerica’s limited opposition, the Motion should be approved regardless of

18   whether Comerica consents to the sale. Specifically, the sale should be approved free and clear of

19   Comerica’s alleged lien under the express provisions of the Bankruptcy Code and because Comerica has

20   already consented to the sale pursuant to an operative and court-approved settlement agreement.

21   3.       Argument
22            A.     The Comerica Compromise Agreement should be approved.
23            The Fox Firm opposes the Motion by arguing, inter alia, that the Comerica Compromise

24   Agreement provides no benefit to the Estate. To the contrary, the proposed settlement and release of the

25   Comerica Carve-Out Obligation will preserve Estate resources and will allow the Trustee to focus on

26   case closure rather than another round of litigation with Comerica.

27
     1
28    All capitalized terms not defined in this Reply Memorandum have the meanings the Motion or the
     Memorandum of Points and Authorities accompanying the Motion ascribe to such terms.
                                                   1
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 1           Specifically, the Trustee believes that Comerica may have, and Comerica vigorously asserts that

 2   it does indeed have, a $150,000 substantial contribution claim against the Estate for the reasons set

 3   forth in Comerica’s reply in support of the Motion filed on July 30, 2021, as dk. no. 269 (“Comerica

 4   Reply”). As such, the Trustee joins the Comerica Reply to the extent Comerica argues that: (1) it

 5   possesses a colorable substantial contribution claim; and (2) the Comerica Compromise Agreement

 6   should be approved. Rather than spend tens of thousands of dollars litigating the merits of Comerica’s

 7   alleged administrative claim and a potential opposition to the Motion with no guarantee of success,2

 8   and also considering that there will be no equity from which to carve-out any funds for the Estate if the

 9   Fox Firm prevails in its litigation with Comerica, the Trustee determined that it was in the best interest

10   of the Estate to settle all disputes with Comerica in exchange for a release of the Comerica Carve-Out

11   Obligation. As detailed in the Motion, the Estate will net $50,000 more from lienholders than the

12   Trustee originally negotiated even after approval of the Comerica Compromise Agreement. The

13   settlement with Comerica will effectively resolve all outstanding potential litigation involving the

14   Estate, and the Comerica Compromise Agreement should be approved by the Court.

15           B.     The sale should be approved free and clear of Comerica’s alleged lien
16                  even if the Comerica Compromise Agreement is denied.
17           Comerica’s limited opposition to the Motion confirms that Comerica consents to the proposed

18   sale, but only if the Comerica Compromise Agreement is approved. The Trustee disagrees that approval

19   of the sale should be conditioned upon approval of the agreement with Comerica. Simply put, the Court

20   should approve the sale even if the Comerica Compromise Agreement is denied. The Trustee has been

21   trying to sell the Property for nearly four years. However, the Property has been plagued by issue after

22   issue. With a currently robust real estate market and interest rates at all-time lows, the pending offer of

23   $1.522 million (which will net the Estate $300,000 in unencumbered funds) is likely the best the Estate

24   can do. Both the Buyers and the $300,000 subordination agreement may be lost if the sale falls through.

25           To that end, the Trustee believes that the sale may be approved free and clear of Comerica’s

26   alleged lien under 11 U.S.C. §§ 363(f)(1) and (f)(5) even if Comerica retracts its consent to the sale.

27
     2
28    While the Fox Firm asserts in its opposition that it would formally dispute any potential
     substantial contribution claim of Comerica, such representation does not relieve the Estate of its
     obligation to also dispute such claim should one be asserted.
                                                  2
         REPLY IN SUPPORT OF MOTION FOR ORDER APPROVING: SUBORDINATION; COMPROMISE; AND SALE
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 1   See Motion, sections E.iii. and E.iv. Further, Comerica has already consented to the sale of the Property

 2   pursuant to the enforceable and operative settlement and carve-out agreement (“First Agreement”)

 3   approved by the Court on March 1, 2019, as dk. no. 138. Again, the First Agreement remains effective

 4   and enforceable, as does Comerica’s consent to the sale under the First Agreement.

 5   4.       Conclusion
 6            For the foregoing reasons, the Trustee respectfully requests that the Court grant the Motion on

 7   its stated terms.

 8
 9   Dated: August 3, 2021                                MARSHACK HAYS LLP

10
11                                                        By: /s/ Chad V. Haes
12                                                            D. EDWARD HAYS
                                                              CHAD V. HAES
13                                                            Attorneys for Chapter 7 Trustee,
                                                              David M. Goodrich
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          REPLY IN SUPPORT OF MOTION FOR ORDER APPROVING: SUBORDINATION; COMPROMISE; AND SALE
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
870 Roosevelt, Irvine, CA 92620

A true and correct copy of the foregoing document entitled: TRUSTEE’S OMNIBUS REPLY TO RESPONSES TO
MOTION FOR ORDER: 1. APPROVING SUBORDINATION AGREEMENT BETWEEN THE TRUSTEE AND BANK OF
AMERICA; 2. APPROVING COMPROMISE BETWEEN TRUSTEE AND COMERICA BANK; AND 3. AUTHORIZING
SALE OF REAL PROPERTY (A) OUTSIDE THE ORDINARY COURSE OF BUSINESS; (B) FREE AND CLEAR OF
LIENS, CLAIMS, AND ENCUMBRANCES; (C) SUBJECT TO OVERBID; AND (D) FOR DETERMINATION OF GOOD
FAITH PURCHASER UNDER 11 U.S.C. §363(M) will be served or was served (a) on the judge in chambers in the form
and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
August 3, 2021, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On August 3, 2021, I served the following persons and/or entities at the last
known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on August 3, 2021, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
VIA OVERNIGHT MAIL:
  PRESIDING JUDGE’S COPY                                          DEBTOR
  HONORABLE BARRY RUSSELL                                         BENJAMIN W GONZALES
  UNITED STATES BANKRUPTCY COURT                                  P.O. BOX 1530
  CENTRAL DISTRICT OF CALIFORNIA                                  LOS ANGELES, CA 90001
  EDWARD R. ROYBAL FEDERAL BUILDING AND
  COURTHOUSE
  255 E. TEMPLE ST., SUITE 1660 / COURTROOM 1668
  LOS ANGELES, CA 90012
                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.
   August 3, 2021           Chanel Mendoza                                     /s/ Chanel Mendoza
  Date                            Printed Name                                                   Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

                                                                                                    F 9013-3.1.PROOF.SERVICE
June 2012
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                                                   Main Document     Page 6 of 6
1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): CONTINUED:
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            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

                                                                                                    F 9013-3.1.PROOF.SERVICE
June 2012
